Case 2:03-CV-02202-.]DB Document 68 Filed 07/28/05 Page 1 of 2 Page|D 101

Fu.t=:o m % o.<..
IN THE UNITED sTATEs DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEE .
WESTERN DIVISION 05 JUL 28 PH |2 07

mms two
ii t

 

IN THE MATTER OF THE COMPLAINT OF
WEPFER MARINE, INC. FOR EXONERATION Cause NO. 03-2202 B/P
FROM OR LIMITATION OF LIABILITY,

 

ORDER

 

This court, having been advised by counsel for the parties that settlement has been
reached on all matters in this case, the motion of Wepfer Marine, Inc. for Clarification or to
Alter or Amend Judgment is DENIED AS MOOT.

~_)k
IT Is so oRDERED this Z:L, day Of July, 2005.

 

J. DANIEL BREEN "
IT D sTATEs DISTRICT JUDGE

   

UN1TED STETAS "T1SR1C COURT - WEERST 1)181R1CT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 68 in
case 2:03-CV-02202 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Matthew H. Ammerman
FITZHUGH & ELLIOTT PC
12727 Kimberley Lane

Ste. 302

Houston, TX 77024

Thomas C. Fitzhugh
FITZHUGH & ELLIOTT PC
12727 Kimberley Lane

Ste. 302

Houston, TX 77024

Derrick S. Kirby
GOLDSTEIN & PRICE
One Memorial Drive
Ste. 1000

St. Louis7 MO 63102

Louis J. Miller

APPERSON CRUMP & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/lemphis7 TN 38119--397

Gary T. Sacks
GOLDSTEIN & PRICE
One Memorial Drive
Ste. 1000

St. Louis7 MO 63102

.1 ohn R. Smith

BROWN BRASHER & SMITH
5100 Poplar Avenue

Ste. 25 1 5

1\/lemphis7 TN 38137--251

Honorable .1. Breen
US DISTRICT COURT

